Case 1:20-cv-08042-PKC Document 46-20 Filed 07/01/20 Page 1 of 46




                                                                    P-APP002949
Case 1:20-cv-08042-PKC Document 46-20 Filed 07/01/20 Page 2 of 46




                                                                    P-APP002950
5/15/2020               Case 1:20-cv-08042-PKC
                                        Linda Fairstein: Document        46-20
                                                         Controversy Surrounds      Filed 07/01/20| PEOPLE.com
                                                                               Prosecutor-Turned-Author Page 3 of 46


    Inside the Controversy About Linda Fairstein,
    Central Park 5 Prosecutor Played by Felicity
    Huffman
    Linda Fairstein oversaw the interrogation of the wrongfully convicted teens who became known
    as the "Central Park Five"

    By Greg Hanlon

    May 31, 2019 10:45 AM

    Linda Fairstein parlayed her many years as head of the Manhattan District
    Attorney’s sex crime unit into a highly-successful literary career: She is the author
    of the bestselling Alexandra Cooper series of mystery novels, which follow a
    heroine New York prosecutor and are based on Fairstein’s real-life experiences.

    But to many, her legacy is irredeemably tarnished by one case: Fairstein oversaw
    the interrogation of the so-called Central Park Five, the teens who were wrongfully
    imprisoned for years following the high-pro le 1989 rape of a female jogger before
    their convictions were overturned.

    All ve said their confessions were coerced under extreme duress, and they were
    later exonerated when a convicted serial rapist whose DNA matched the attack
    confessed to the crime. The men later reached a settlement with New York City for
    more than $40 million, The New York Times reported.

    Ava DuVernay’s new Net ix miniseries When They See Us, which starts streaming
    Friday, chronicles the case and its impact on the ve people — all of whom were
    Black or Latino — whose lives were turned upside down during an era in New York
    marked by high crime and fraught race relations.

    Fairstein is played by Felicity Huffman, who has made off-screen headlines in the
    courtroom herself because of her involvement in the college admissions cheating
    scandal, which resulted in a May guilty plea.

    Despite no physical evidence tying the ve teens to the crime, Fairstein has
    maintained they were guilty as charged. In 2018, after New York City released

https://people.com/crime/linda-fairstein-central-park-five-prosecutor-controversy/                                       1/3
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5/15/2020               Case 1:20-cv-08042-PKC
                                        Linda Fairstein: Document        46-20
                                                         Controversy Surrounds      Filed 07/01/20| PEOPLE.com
                                                                               Prosecutor-Turned-Author Page 4 of 46
    thousands of pages of case documents supporting the decision to vacate the
    convictions, Fairstein wrote an op-ed in the New York Law Journal defending the
    initial convictions and saying the confessions weren’t coerced. In a 2002 interview
    with The New Yorker, she described the arrests of the suspects as “one of the most
    brilliant police investigations I’ve ever seen.”

    • Want to keep up with the latest crime coverage? Click here to get breaking
    crime news, ongoing trial coverage and details of intriguing unsolved cases in the
    True Crime Newsletter.

    Fairstein claimed in the interview that the admitted rapist, Matias Reyes, “ran with
    that pack of kids. He stayed longer when the others moved on. He completed the
    assault. I don’t think there is a question in the minds of anyone present during the
    interrogation process that these ve men were participants, not only in the other
    attacks that night but in the attack on the jogger.”

    But Michael Warren, who represented three of the ve wrongfully convicted teens,
    told the magazine, “Reyes is very clear about what he did. His pro le is that of a
    solo artist, and he acted alone.”


    Controversy Over Rescinded Literary Award

    Last year, Fairstein’s controversial legacy surfaced when the Mystery Writers of
    America announced she would receive the 2019 lifetime achievement Grand Master
    Award at their annual Edgar Awards ceremony.

    “Linda Fairstein became a sex-crimes prosecutor during a time when sex crimes
    were almost impossible to prosecute. In her 30-year tenure at the Manhattan DA’s
    Of ce, she was a pioneer in the war against rape, ghting for historic changes to
    the criminal justice system and for justice on behalf of victims of the most heinous
    crimes,” the news release announcing the award states.

    But two days after the announcement, the organization rescinded the honor, citing
    “a controversy in which she was involved” about which the organization’s board had
    previously been unaware.


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5/15/2020               Case 1:20-cv-08042-PKC
                                        Linda Fairstein: Document        46-20
                                                         Controversy Surrounds      Filed 07/01/20| PEOPLE.com
                                                                               Prosecutor-Turned-Author Page 5 of 46
    The initial announcement of the decision to honor Fairstein was quickly criticized
    by 2018 Edgar winner Attica Locke.

    “She is almost singlehandedly responsible for the wrongful incarceration of the
    Central Park Five,” Locke, who according to the New York Times worked on the
    Net ix project, wrote in a series of tweets.

    “Just because she has a ourishing publishing career does not mean we should
    ignore her past — or her continued unwillingness to accept responsibility for
    ruining ve innocent men’s lives.”

    Fairstein responded to Locke by accusing the men of separate assaults that night —
    even though their convictions on those charges were also vacated.

    “Talk to me about the other 6 men viciously attacked in the Park that night, which
    these and others admit doing. You don’t care about them? Good night,” Fairstein
    wrote.


    Locke responded, “Actually, I think the ‘good night’ here is the sun setting on all the
    years you’ve gotten away with not being held to account for your actions in the
    court of public opinion.”

    The Net ix miniseries When They See Us starts streaming Friday.




https://people.com/crime/linda-fairstein-central-park-five-prosecutor-controversy/                                       3/3
                                                                                                           P-APP002953
Case 1:20-cv-08042-PKC Document 46-20 Filed 07/01/20 Page 6 of 46




                                                                    P-APP002954
Case 1:20-cv-08042-PKC Document 46-20 Filed 07/01/20 Page 7 of 46




                                                                    P-APP002955
Case 1:20-cv-08042-PKC Document 46-20 Filed 07/01/20 Page 8 of 46




                                                                    P-APP002956
5/13/2020               Case 1:20-cv-08042-PKCThe Document         46-20in theFiled
                                                  Attacker’s Other Victims     Central07/01/20
                                                                                      Park Five Case Page 9 of 46




https://www.thecut.com/2019/06/the-attackers-other-victims-in-the-central-park-five-case.html                         1/26
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5/13/2020              Case 1:20-cv-08042-PKCTheDocument
                                                 Attacker’s Other46-20       Filed
                                                                 Victims in the      07/01/20
                                                                                Central Park Five CasePage 10 of 46




                STYLE                    SELF                  CULTURE                          POWER




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5/13/2020              Case 1:20-cv-08042-PKCTheDocument
                                                 Attacker’s Other46-20       Filed
                                                                 Victims in the      07/01/20
                                                                                Central Park Five CasePage 11 of 46

CRIM E          J U NE 3 , 20 1 9


Before, and After, the Jogger Survivors of the real
‘Central Park Five’ attacker speak for the first time.
B y Sarah We inman



Lourdes Gonzalez with baby Amanda, 1989. Photo: New York Daily News/Newspapers.com



Lourdes: June 13–14, 1989
              ourdes Gonzalez couldn’t wait to tell Antonio the news: She was pregnant with their


L             second child. It was a surprise only because they hadn’t been trying: Amanda, their rst
              child together, was just months old. A happy baby with wide eyes and full cheeks. One
doted on by her parents and by her half-brothers, Tony, nearly , and Carlitos, six months
younger.

A new pregnancy was cause for joy but also for alarm. Lourdes and Antonio had already talked
about getting away from New York City and buying a house in Philadelphia. More space. A yard.
Actual greenery. Central Park didn’t count — it was no place to spend time in by day, let alone by
night. Muggings were common on their block and nearby. The murder rate was climbing all
around the city. Drug use was soaring thanks to the arrival of crack cocaine. Less than two
months earlier, ve teenage boys had been arrested for the rape of a woman near the        nd
Street transverse in the Park.

The city she’d known her entire life was always tough, but never like this. The basement
apartment on th Street, two buildings east of Madison, spooked Lourdes more and more. They
lived there because Antonio Serrano, her partner, was the building superintendent. But it felt less
safe, especially with two little boys and a baby to care for. Anyone could walk down the stairs
outside to the apartment door and knock on it. Once Lourdes saw someone rapping on the
window, though that person hadn’t made it inside. Antonio’s truck, lled with tools, had gone
missing for a few hours one day. The truck reappeared. The tools did not.

So much had happened in the three years since they met on a Bronx-bound train. Antonio
shouldn’t have even been on that train. He’d stayed on it by mistake instead of switching to the
East Side IRT, caught up in conversation with a friend of his. Lourdes, who worked at Red Apple
Groceries on th and Broadway, was on her way home. Antonio noticed her blonde hair, wide
smile, and kind eyes. She looked back and seemed interested, but nothing happened. Then, by

https://www.thecut.com/2019/06/the-attackers-other-victims-in-the-central-park-five-case.html                           3/26
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5/13/2020              Case 1:20-cv-08042-PKCTheDocument
                                                 Attacker’s Other46-20       Filed
                                                                 Victims in the      07/01/20
                                                                                Central Park Five CasePage 12 of 46

chance, a few days later, Lourdes and Antonio ran into each other. This time, early sparks led to
something deeper. Lourdes taught Antonio, who was originally from Puerto Rico, English, and he
taught her, the native New Yorker, Spanish.

They moved in together the following month. She brought Carlitos. He brought Tony. They knew
life as a blended family would be hard, but mostly it was good. Amanda arrived in March after a
healthy pregnancy. This new baby, ojala, would be born sometime after New Year’s Day.

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Antonio Serrano came home after a long day’s work on June ,                                     . Lourdes told him the
news, and they celebrated. Their joy lasted less than hours.



Thirty years ago, the attempted murder, rape, and assault of the woman still more commonly
known today by her tabloid name — the Central Park Jogger — than as Trisha Meili, brought
together real and imagined fears of a collapsing New York City into an unholy cocktail of outrage,
blame, and recrimination. Nineteen eighty-nine was near the apex of escalating crime rates
(nearly ,      people murdered, a record eclipsed the following year), underfunded social
services, brazen muggings on gra ti-emblazoned subways, skyrocketing drug use thanks to the
infusion of crack cocaine, and a police force that seemed helpless to do much about any of it.

New York was nearly unbearable for its residents, especially those who were not white and not
rich. The media coverage, particularly from the tabloid Post and Daily News as well as local
television, ampli ed fear with lurid reports and headlines (one memorable, simple one:
VIOLENCE.) Which is why, when Antron McCray, Kevin Richardson, Yusef Salaam, Raymond
Santana, and Korey Wise, the ve African-American and Latino teens known as the Central
Park Five, were charged and later convicted for Meili’s rape and near murder on the night of
April ,         , the public bought it. The misheard term of “wilding” — basically running amok
and thrill-killing — was emblazoned on tabloid front pages for what these young men had
purportedly done.

That changed in December        , when the New York Supreme Court vacated the convictions of
the Five, acting upon the recommendation of the District Attorney’s O ce. Earlier that year, a
murderer and serial rapist named Matias Reyes had admitted that he, alone, was the rapist in the
park, and DNA results con rmed his confession. He had preyed upon women during a yearlong
https://www.thecut.com/2019/06/the-attackers-other-victims-in-the-central-park-five-case.html                            4/26
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5/13/2020              Case 1:20-cv-08042-PKCTheDocument
                                                 Attacker’s Other46-20       Filed
                                                                 Victims in the      07/01/20
                                                                                Central Park Five CasePage 13 of 46

campaign of terror all along the Upper East Side — a case covered in ts and starts by the media,
which was ready to move on to the next story even after his arrest as a serial rapist and murderer.

Because the “wilding” narrative took hold so quickly, when it fell apart, the public reckoning
never seemed to stick. Not after a civil suit lodged by the Five against the city, settled in  for
     million. Not after Sarah Burns’s        book and        documentary lm on the case outlined
the socioeconomic context for the teens’ wrongful convictions. When They See Us, Ava
DuVernay’s Net ix series premiering on May                                           , will in ame arguments anew, despite physical
evidence pointing squarely to Reyes.

The public reckoning almost always centered on the injustice to the ve men themselves, who
were innocent boys whose lives were destroyed by shoddy police work and systemic racism. Less
examined are the other lives destroyed by the case: Reyes’s many victims, who waited so long for
justice, some who might not have been victims at all but for law enforcement’s staunch belief it
had the right assailants.

That story can now be reconstructed from                                         ,        pages of documents, a davits, and legal
briefs released by the city beginning in July  ; countless newspaper articles; and interviews
with more than two dozen sources, some on the record, or interviewed outright, for the very rst
time.

This wasn’t about one young, white a uent woman raped while jogging in Central Park, but
about nine young women, some a uent, some less so, assaulted, raped, or murdered all around
the Upper East Side. The story crafted within hours of that April night was the splintered
mirror image of the real narrative: that the man who attacked the Central Park Jogger was a
serial rapist and murderer who struck before and after.

For three decades, the story of women harmed, one fatally, by a man whose escalating, raging
violence wasn’t fully understood until it was too late, was hidden in plain view. The women were
always at the center of what had happened. But they were written out of their own story.



Tony Serrano heard a knock at the door. He and Carlitos were watching TV in the living room,
the boxes of Lego they’d played with earlier in the day strewn nearby. Lourdes, the woman he
regarded as his mom, was in the kitchen with his baby sister. Lourdes told Tony to see who it was.



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5/13/2020              Case 1:20-cv-08042-PKCTheDocument
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                                                                 Victims in the      07/01/20
                                                                                Central Park Five CasePage 14 of 46

Tony opened the door. There was a man with light skin, hair short, wearing dark blue pants, a
white-and-blue short-sleeve shirt, and white sneakers. He wanted to know if the superintendent
was around.

Tony told the man that the super, his father, wasn’t here. The man barged in, past Tony, who said
the man was “too big for me to stop him,” and asked for some change. There was none.

                                                             Lourdes had come out of the kitchen. She picked up the baby
r Amanda, 1989. Photo: Handschuh,                            and handed her to the boys, telling them to go to their shared
ews via Getty Images
                                                             bedroom and lock that door.

Tony’s mom was tiny, ve-foot-one and about a hundred pounds. Lourdes put up a struggle, but
the man was too much. The next ve minutes passed in agony. “I didn’t hear nothing,” said Tony.
“My mother closed the door.” Tony did, however, hear the man’s main threat to Lourdes: “I’ll take
your eyes or your kids.”

Tony, Carlitos, and Amanda didn’t hear Lourdes being stabbed nine times in the chest and
abdomen and once in the face with one of the kitchen knives. They didn’t hear her ght for her
life and for theirs. They didn’t hear him rape her. They heard her scream, “My head, my head! I’m
bleeding!” and “Please stop!” and, later, “Please don’t hurt my kids. You can take anything you
want,” but not that she called him a motherfucker, ordering him to get out. He did, but only after
the attack ceased.

When the man ed, the boys left the bedroom. They discovered Lourdes still alive, frantic,
already on the telephone. “Get help, get help!” she screamed. To the   operator, Lourdes said:
“Give me the police please, it’s an emergency. I’m bleeding to death.”

“Are you inside?”

“Yes, I’m cut.”

“What apartment are you in?”

“In the basement.”

“Stay on the line, let me connect you to the ambulance.” When Lourdes was connected, she
implored them to hurry. “I’m fading.”

“Ma’am, are you pregnant —”
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5/13/2020              Case 1:20-cv-08042-PKCTheDocument
                                                 Attacker’s Other46-20       Filed
                                                                 Victims in the      07/01/20
                                                                                Central Park Five CasePage 15 of 46

“I’m fainting. Basement, hurry, hurry.”

Tony hid the baby in the closet next to the hamper, swaddling her in a blanket, hoping that she
would be safe there. The boys ran to the elevator, but they didn’t have the special key to get access.
By the time they reached the rst oor, a neighbor, Harriett Zeichner, had dialed        . “The two
boys were standing outside the elevator panicking because there was no way to get back
downstairs,” Zeichner told the Daily News. “They said their mother was hurt.”

Gonzalez, by this time, her face slashed, streaking blood from her ripped shirt and pants, had
staggered out of her apartment. She collapsed on the way to the elevator. “She just kept
mumbling that there was a baby downstairs,” said Zeichner.

By the time paramedics drove Lourdes to St. Luke’s Hospital, it was already too late. She would
live just over two hours more in the emergency ward, dying at p.m. on June ,           . She did
not provide any details on her attacker. But investigating detectives knew enough to sense her
killer had struck before and that he would strike again.

On both counts, they were correct.



Jackie: September 21, 1988
Nine months before Lourdes Gonzalez’s death, Jackie Herbach was on her lunch break. She
worked as a receptionist for an obstetrician-gynecologist on th Street and Fifth Avenue, but
that was a day gig to pay bills. Acting was her ambition, her reason for staying in Manhattan. She
was , engaged to be married, and what preoccupied her most on the afternoon of September
    ,          , was the acting class scheduled for that evening.

First, Herbach had errands to run during her lunch hour. She bought a bag of Wise popcorn and
an apple juice to supplement the salami sandwich she’d already packed, then took out        from
a nearby ATM to pay for the night class. She headed west to Fifth Avenue and sat at the rst
available park bench to eat her lunch. When she was done, she still had minutes left on her
break. The Church of the Heavenly Rest was right across the street.

Herbach was Catholic, and this church was Episcopal, but the denomination didn’t matter. She
wanted to say a prayer for her parents and have “a few private moments with God and myself ”
before going back to the o ce. She went through the main altar and on to the adjacent and

https://www.thecut.com/2019/06/the-attackers-other-victims-in-the-central-park-five-case.html                           7/26
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5/13/2020              Case 1:20-cv-08042-PKCTheDocument
                                                 Attacker’s Other46-20       Filed
                                                                 Victims in the      07/01/20
                                                                                Central Park Five CasePage 16 of 46

smaller chapel. There she sat in a pew, read a missal, and thought about the beauty of the church
and how peaceful it was. Her mind calmed. Her breathing relaxed. Then she checked her watch:
 : . Five minutes left. It was time to get back to work.

“Do you work here?”

She hadn’t noticed the man enter the chapel. He was younger than her, maybe , medium
height, ve-nine tops, wearing blue jeans and a beige short-sleeve football jersey with numbers
on both sides. He spoke with a mild accent. His manner was polite.

She said no, she didn’t work at the church. He nodded, then walked up the aisle of the chapel and
headed left into the main church. Herbach gathered up her things to go.

That’s when someone grabbed her from behind, one hand over her mouth, the other over her
neck, and told her to shut up and not scream, otherwise he would kill her. He had a knife.

“I was always rather street-savvy, being careful, not doing anything where [something terrible]
could happen,” Herbach told me. “Anything could happen anywhere at any time. But not at two
in the afternoon in a church on the Upper East Side.”

He forced her down a ight of stairs. When they reached the vestibule, he asked for money, and
she gave him the cash she’d withdrawn from the ATM. She gave him the gold bracelet around her
wrist, three gold rings, and a watch because he asked for all of those, too. She tried to keep back
one ring, the one with her mother’s initials. He said she could, then went ballistic and began
banging her head on the oor, continuing to strangle her.

“It was a really ugly thing,” Herbach told me. “I felt like I was going to actually die. Being in that
church basement, thinking, I didn’t think I was going to die at        in a church basement, but I
guess I am.”

She was out for less than a minute. When Herbach came to, she was kneeling on the oor, the
man looming above her. He told her to take o her blouse. “Please don’t rape me,” she said. “Take
it o ,” he said, repeating the phrase for the rest of her clothing. She knew what he wanted to do.
She had to think of a way out. “I have an infection. You don’t want to catch this,” she said.

She didn’t have an infection, but the ruse worked. “I don’t want your body, forget it!” He told her
to lie on the concrete oor, face down, for a few minutes. He took her clothes. If she moved, he
and his partner would nish her o . Herbach waited less than a minute after the man left. She

https://www.thecut.com/2019/06/the-attackers-other-victims-in-the-central-park-five-case.html                           8/26
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5/13/2020              Case 1:20-cv-08042-PKCTheDocument
                                                 Attacker’s Other46-20       Filed
                                                                 Victims in the      07/01/20
                                                                                Central Park Five CasePage 17 of 46

checked that the chapel doors were locked then ran back up the stairs, nearly naked, noticing
that the gate to the chapel was open and that her clothes were there, all in a bundle. She put them
on in haste, blouse inside-out, pants unbuttoned, and ran back to her o ce to call for help.

                                                             She made a brief visit to the hospital, after which a cop
her wedding in 1989. Photo: Courtesy of                      accompanied Herbach to the church, to the park, but she
                                                             didn’t see her attacker. She went to the th Precinct to look
at mug shots. One looked familiar, and a cop said he would check it out.

Jackie stayed home from work the rest of the week. Her ancé looked after her. Already she could
sense that she should feel lucky that it hadn’t been worse. That she hadn’t been raped. That she
hadn’t been killed. She could get on with her life. She would hear about the woman raped in
Central Park seven months after her own assault and feel a jolt of familiar understanding but
not make deeper connections.

So why didn’t she feel lucky at all?



Unnamed: April 17, 1989
Two days before the attack on Trisha Meili, a woman was doing t’ai chi near the Lasker Rink at
the northern end of Central Park. Fort Fish was in a wooded, desolate area, overgrown with
weeds; the -year-old woman was by herself in the middle of the afternoon. A man approached
and asked her a question. She began to walk away, discom ted by his presence. He attacked her,
tearing o her clothes, and started to rape her. She screamed, and a man nearby came to see what
was happening. Her attacker ran o .

After the police came, she was taken to St. Luke’s, where she spent at least two nights. Though the
attacker did not leave behind any DNA, the victim’s recall impressed the Sex Crimes detective
who interviewed the victim. She not only identi ed her attacker as Hispanic but called attention
to the fresh stitches on his chin. When the detective checked local hospital records, he found that
a man tting that description had been given stitches at Metropolitan Hospital. The man’s name
was Matias Reyes.

The woman left New York not long after the attack and stopped talking to the police. The
detective assigned to the case was transferred to a di erent unit. The unsolved case was closed
within months. Reyes was never brought in for questioning.

https://www.thecut.com/2019/06/the-attackers-other-victims-in-the-central-park-five-case.html                           9/26
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5/13/2020              Case 1:20-cv-08042-PKCTheDocument
                                                 Attacker’s Other46-20       Filed
                                                                 Victims in the      07/01/20
                                                                                Central Park Five CasePage 18 of 46




Melissa: June 11, 1989
Melissa (not her real name) did not care much for her neighborhood. She’d moved to a rst- oor
studio apartment at     East     th Street a few months earlier because it was cheap and she
could live by herself. She was working as a researcher, saving up money to apply for graduate
school in the biological sciences. She’d grown up in New York but had forged her own life, away
from parents who o ered little in the way of emotional support.

But the aggressive catcalls and hassling from men as she walked the    blocks north to her home
every evening wore her down. She appreciated her neighbors, yes — they were especially kind
later, when she wished she hadn’t needed them to be — but the Central Park Jogger case
frightened her further. This was no place for a -year-old to be, contending with the sweltering
heat and the rising crime rate of the summer of     .

She’d spent all Sunday outside in Central Park. She arrived home around six, thinking about her
plan to sign up as a Big Sister. She no longer remembers why, but she’d set out some newspapers,
preparing to clip some articles with scissors. She turned the television to  Minutes. She was,
she told me, in a great mood.

Melissa’s buzzer sounded. Not once but several times. She asked who it was. He said he was the
son of the building superintendent. She let him up because it was a plausible story. She was
 ghting with the building manager over undone repairs, and Melissa was ready to withhold rent.
Only when it was far too late did she wonder: If he was the super’s son, why didn’t he have a key?

Over the next two hours, he raped Melissa three times. He slashed her about the eyes with a
kitchen knife. He tried to drown her in the bathroom sink. He made her call her boyfriend, who
mercifully was not home or did not pick up, because she had no idea what she would have said
with her attacker right there with her. He asked if she wanted to do cocaine with him. He took her
mother’s high-school class ring, and her own ring, but any jewelry that she told him wasn’t real he
didn’t keep.

Melissa dissociated. She expected to die. He left her in the bathroom and told her not to call
police. She thought, she told me, “If I stay here, I will die. But if I leave the bathroom, I might also
die.” She decided to open the door. When she did, the man was gone. She couldn’t believe it. He’d
brought binoculars with him, and they were still there. How could he be cunning enough to
manipulate his way into her apartment and violate her but so stupid as to leave objects behind?
https://www.thecut.com/2019/06/the-attackers-other-victims-in-the-central-park-five-case.html                           10/26
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5/13/2020              Case 1:20-cv-08042-PKCTheDocument
                                                 Attacker’s Other46-20       Filed
                                                                 Victims in the      07/01/20
                                                                                Central Park Five CasePage 19 of 46

She had stab wounds all over her face, defense wounds on her hands, a shattered nose, and two
black eyes. “I wanted to be a good citizen,” Melissa recalled thinking. She put aside his threat and
called    . When two o cers arrived, ten minutes later, they asked if she wanted an ambulance.
She declined, as she had to the dispatch operator. “Save it for someone who needs it.”

They took her to the hospital in a squad car, where Melissa still couldn’t reach her boyfriend. A
nurse o ered to put her up for the night if she had no place to go. “She told me I would be safe at
her house. It was so kind, so amazing.” All through the examinations, the rape kit and the skull
X-rays, Melissa felt numb. “But I knew that I would be devastated later, that I would be destroyed
by this.”

Melissa blocked out how she left the hospital and ended up at her boyfriend’s house. He listened
to her at rst, seemed to empathize. But that night, he made her sleep in the living room instead
of sharing his bed. “I realized this guy is no good. It was unforgivable.” She moved to a friend’s
apartment. She took several weeks of leave from her job, spending her days alone, fearful of
leaving. At night, her friend would help her bathe, because the defense wounds made it too
di cult to do so herself.

A few days after the attack, Melissa and her friend went out for a walk. They passed a bar. The
television was on, broadcasting Lourdes Gonzalez’s picture, describing her murder. “Oh my God,
that is him, son of a bitch,” Melissa said out loud to her friend. She read and saved every story she
could nd about Lourdes.

But she also got angry, so angry. Because a News story about Lourdes suggested a connection
between the attacks and revealed what had happened to Melissa, too. A few days after her assault,
someone approached her. “Are you the girl from East  th Street?” She told him she was not that
woman.



Amanda: July 19, 1989
Amanda Eisley cut class early because she wasn’t feeling well. She was on summer break after
 nishing her freshman year at Bryn Mawr, spending every weekday, ve hours a day, drawing
and painting at the Art Students League. Class usually nished up by two o’clock, but at noon she
didn’t think she could get through the rest of the day. She took a crosstown bus to her parents’
place on the corner of Madison and th. They weren’t home and wouldn’t be for several hours.


https://www.thecut.com/2019/06/the-attackers-other-victims-in-the-central-park-five-case.html                           11/26
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                                                                                Central Park Five CasePage 20 of 46

Amanda, born in Paris but a New Yorker since she was a small child, spent her life surrounded by
the arts. Her father was a musician. Her mother was an artist. She began drawing at , more
seriously at . She studied dance at the Martha Graham school. She took photography classes at
Bryn Mawr and later at ICP. She hung out in the downtown art scene in high school and that
summer worked for an art dealer, translating Surrealist poems from French (her rst language)
to English.

She was              and experiencing all of life’s pleasures and sensations. “I would follow an impulse
when I had it, artistically, and just go with it, without checking myself, without doubting myself,”
Amanda told me. She wasn’t totally ignorant of bad things happening. “I grew up in the city, so I
was aware, but their actual reality — a sense of what crime is and what it does — was something I
was emotionally protected from.”

Three months before, home from school for Easter, Amanda and her father had taken a walk
through Central Park. She saw a man running, holding his head, covering his eyes. (There were
several attacks in the park that night.) She heard the commotion. She knew something was up
but wouldn’t learn the details of what happened in the park, until it was splashed in the news the
next morning, the focus on the rape and beating of a female jogger.

Amanda got o the bus a stop early to buy water bottles at a nearby drugstore. She walked to her
building, carrying the bag of bottles, and saw the front door propped open. “There was
construction being done. It’s pissed me o ever since.” She took the elevator up to the apartment.
When she opened the door, she heard someone breathing strangely coming up the stairs. “He
passed me and I thought, Oh, good, he’s probably delivering something.” Then the man came
back down the stairs. Amanda asked him where he was trying to go.

He darted at her. She felt the pinprick of a knife at her neck. He forced her into the apartment.
He raped her several times and issued his ultimatum: “I have to kill you, or I have to blind you.”
Amanda made a conscious decision not to ght back. As she explained, “I sensed this dynamic
that if you ever pushed at him, talked back in an aggressive or combative way, rather than being
completely yielding and soft, something would come up in him that was scary or monstrous.”

When he was done, he ripped the telephone cord out of the jack, wrapped it around Amanda’s
wrists and ankles, then bound her limbs together. He took the     she had in a bowl in the
dining room, money she’d recently been paid by the art dealer. He took her ATM card and forced
her to give him the PIN number. He gagged her. He told her that if she tried to call the police, he
would kill her. And then he began to cut her face around her eyes.

https://www.thecut.com/2019/06/the-attackers-other-victims-in-the-central-park-five-case.html                           12/26
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                                                                 Victims in the      07/01/20
                                                                                Central Park Five CasePage 21 of 46

                                            “I was on my knees, and I guess I kind of just slid out of his
Amanda Eisley, made shortly after she was   grasp to the oor. There was a certain point where the cutting
Photo: Courtesy of Amanda Eisley
                                            was getting uncomfortable. Surpassing super cial cuts. He
thought I had fainted.” The man walked toward the front door. From the hallway, he placed an
anonymous             call to the police, giving them her address, then exited the apartment. Later
Amanda learned he withdrew                                     , all the money she had in that account.

The entire assault had lasted an hour.

Amanda waited a while, unclothed and still tied up. “I didn’t know if I could see. That was the
 rst thing I checked. It was all sticky and wet and hazy. But I opened my eyes and I could see.”
She crawled down the hallway of the apartment, freeing one limb from the tie, and got to the
window facing Madison Avenue. She screamed for help. Blood dripped down her eyes. People
responded to Amanda’s cries, moving from all directions toward the window.

The police came. They covered her, undid her bonds, and escorted her to the ambulance. At the
hospital, and after going through a physical exam she recalled as “unpleasant and intrusive,”
Amanda called her best friend, a lmmaker. She stayed with the friend that night and over the
next three days. She didn’t tell her parents what had happened until she returned home. “I wasn’t
crying. I was completely composed. It was a weird disconnect. There wasn’t emotion. I was
matter-of-fact about it, but that was how I talked about it, not how I felt.”



Unnamed: July 27, 1989
She called      three minutes after the assault. The man had followed her into the lobby of her
apartment building on th and Lexington. He wore a navy-blue shirt with white trim, a pair of
blue shorts, and a gold chain around his neck. He told her that he would shoot her (though she
didn’t see any sign of a gun), demanded she hand over her purse, and punched her in the head. “I
guess it’s worth reporting because a couple people recognized the guy,” the woman, , told the
    dispatcher. Before he could worsen his assault upon her, a neighbor on the main oor heard
the commotion, recognized him as someone who’d been snooping around the building earlier in
the day, and intervened before he could nish.

“I’m just lucky that’s all that happened,” said the woman.



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                                                                                Central Park Five CasePage 22 of 46

Meg: August 5, 1989
His nal assault happened over a week later.

Meg (last name withheld for privacy reasons) had moved to New York from the Mid-Atlantic
area four years before, in      , to take classes at a tiny fashion school in the East Village. She’d
recently left a job at a menswear company and was about to start a new gig. She was . She was
single. She loved living by herself, unencumbered, save for her cat.

She’d recently moved from a one-bedroom to a studio in the same building on st and
Lexington to save on rent. It turned out to be a blessing, Meg tells me. “I don’t think I could have
escaped from a one-bedroom the way that I did.”

She’d gone around the corner that Saturday afternoon to get a bagel for a late lunch. On her way
back to the building, Meg noticed the front door was propped open, probably for movers. She
didn’t notice that a man had seen her on the street. That he followed right behind her, watched
her get into the elevator, and when he saw it stop on the third oor, ran upstairs and knocked on
her door. For reasons that are still mysterious to her — maybe because she’d seen a neighbor
earlier and given her change for laundry and thought she had come back for another favor —
Meg answered. “It was literally the one time in my life I didn’t ask who it was.”

What happened next followed the same terrifying script, including the threat of “Your eyes or
your life.” Meg, though, didn’t know she was part of a pattern. She knew about the Central Park
Jogger case, but everything else that happened in the neighborhood? “I had no idea.”

What di ered this time is that he said he would shoot her, his right hand under his shirt as if he
had a gun. Meg was scared, but she remembered advice from an article she’d read years ago. “I
just kept thinking in my head, Keep calm, keep calm. I was trying to gure stu out. I wanted to
lower the volume. It sounds weird, I know, but I tried to treat him like a guest. I o ered him
water. I think, at one point, I said, ‘Do you like cats?’ because my cat was sitting in the chair. He
said no.” She pushed the chair under the table in case he thought of picking up the cat and
strangling it. And then Meg wouldn’t be able to maintain the calm façade anymore.

After the rapes, he took Meg into the shower to clean her up. Then he began to ransack the place.
He demanded Meg’s ATM card and said he would tie her up or kill her. “I think I said, ‘I’ll choose
option one,’” in a joking voice in part to placate him, but also to undercut her own fear. “One
reason I’m alive today is because I gained his trust. I was close to him every second. I was so calm,
he let me walk a little away.” Meg knew things would only worsen, and she eyed the chain and the
https://www.thecut.com/2019/06/the-attackers-other-victims-in-the-central-park-five-case.html                           14/26
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                                                                                Central Park Five CasePage 23 of 46

bolt on her door. “I took the chain o with my right hand, the bolt with my left, and then opened
the door. I ran out, screaming like a banshee, and he was inches behind me.”

Meg ran down the three ights of stairs to the superintendent’s apartment on the rst oor. “She
had two big towels wrapped around her when she knocked on my door,” the superintendent’s wife
told the Daily News at the time. “She said [the rapist] was going to choke her with her own scarf.”
(Meg recalled wearing a single towel, and insisted she didn’t knock on the door. She was running
from a murderer. She didn’t have time to stop and knock.) A building porter and another tenant
saw the man in the lobby, and before he could ee, they set upon him, pinning him on a couch for
   minutes until police arrived.

Later that evening, after the cops had arrested the man, and after the hospital examination, the
cops asked Meg where she wanted to go. “The liquor store,” she said.



Matias Reyes, the man behind the rampage, was and worked as a stockboy at the Real Apple
bodega on Third Avenue and         nd Street, a block south of the apartment where he was staying,
which belonged to his boss’s son. Born in Fajardo, Puerto Rico, Reyes shu ed between his
birthplace and Manhattan before returning to the city in September         , sleeping in vans or
crashing at acquaintances’ places.

Reyes was questioned by Detective Bruno Francisci, who’d worked the serial rape case from the
get-go, and Detective Michael Sheehan, who had interrogated two of the Central Park Five in
April. At rst Reyes denied he had anything to do with the assaults, never mind that he had been
apprehended in his last victim’s apartment lobby as he ed. But soon he admitted to the rapes
and attempted sexual assaults from June through August, his recall candid even as he called
what he did “making love.”

He held o on confessing to Lourdes Gonzalez’s murder until the next day. He cracked when
Sheehan adopted a more sympathetic approach, letting Reyes know that if he’d been abused, it
was no a ront to his manhood to admit it. Sheehan had nearly been assaulted himself as a teen.
Reyes got angry, but the gambit worked. Under Sheehan’s questioning, Reyes spoke of his intent
to rob and to rape Lourdes. He recalled how much she fought back, and how the kids were hidden
in the bedroom. He claimed she brandished a knife and that he took it away from her. Thirteen
years later, he would admit that he’d had the knife all along and that she complied the entire
time.

https://www.thecut.com/2019/06/the-attackers-other-victims-in-the-central-park-five-case.html                           15/26
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                                                                                Central Park Five CasePage 24 of 46

Two things stand out about Reyes’s confessions: His denials gave way to the truth with minimal
prodding from detectives, but his answers depended entirely on what questions they asked him.
And if they didn’t ask about a case, like, say, the Central Park Jogger, Reyes wasn’t about to
volunteer information. Why confess to a crime no one knew you committed?

There was plenty to try him for. The cops didn’t need to know about the women he hurt, or tried
to, before April ,      . Nor about another woman who, everyone later learned, he had
apparently exposed himself to in the basement of another church on February , two months
before that attack. And certainly not Trisha Meili, whose near death lit the city on re.

Antonio Serrano watched the news of Reyes’s arrest at his sister’s apartment in the South Bronx.
He’d quit his superintendent job because he couldn’t bear to be in the same building where she’d
been murdered. He and Lourdes had worked so hard to merge their families, but the bonds
holding the family together had broken. Within weeks, Amanda had been sent to Puerto Rico to
live with Antonio’s mother. Carlitos was with Lourdes’s sisters, only seeing Amanda during the
summers and Antonio rarely. And then, eventually, hardly at all. The family fracture was deep,
and it would turn out to be permanent.

Serrano realized, when he saw the news of Reyes’s capture, that the man looked familiar. He’d
seen him working at the bodega on      nd Street and Third Avenue, right across the street from
the th Precinct. “I saw him twice in that grocery store when I went to buy cigarettes,” Serrano
told the Daily News the morning after Reyes’s arrest. “Who would have thought that was the
guy?”

Meg was the only one of Reyes’s victims who attended his sentencing on November ,             . She
wondered if any of the other women might be there, since she hadn’t met them yet. She had spent
time with Tony while waiting to testify to the grand jury days after Reyes’s arrest. That day, Meg
was full of nervous energy, wearing a dress and shoes borrowed from her friend, carrying a box of
fortune cookies to snack on. She o ered one to Tony, which he took, eagerly, and then shared the
whole package with him. He was calm, Meg remembered, and she felt a surge of a ection. She
had endured something horrible, and so had he, and both had survived to be here.

Reyes had already pleaded guilty to his crimes, including murder and multiple rapes, the month
before. It ended more than two years of delays stemming from the then-novel scienti c
technique of forensic DNA analysis, which connected him to the crime scenes. At the sentencing,
Reyes received a life sentence, the earliest possible parole in and a third years, or    . But he


https://www.thecut.com/2019/06/the-attackers-other-victims-in-the-central-park-five-case.html                           16/26
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                                                                                Central Park Five CasePage 25 of 46

did not go quietly. Before the sentence was handed down by Judge Gilligan, Reyes stood up,
mumbled “Fucking judge,” and punched his lawyer in the forehead.

Over the intervening decade, Reyes’s crimes were forgotten and the Central Park Jogger case
became established lore. The calamitous crime rates of the late      s and early      s dropped
signi cantly. Then Reyes confessed to being solely culpable in Trisha Meili’s rape and near
murder, and old wounds reopened, not just for New York City but for his victims.




ntencing, November 7, 1991. Photo: Marilyn Church




2002
Melissa had known there were other women who had gone through the same ordeal she had, and
who, like her, had survived. She was now in graduate school in a nearby state. She was su ering,
https://www.thecut.com/2019/06/the-attackers-other-victims-in-the-central-park-five-case.html                           17/26
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feeling alone, and she wanted to change that. After Reyes’s sentencing, she sent Assistant District
Attorney Peter Casolaro, who tried the case, a letter addressed to Meg and Amanda. “I thought we
could be a support to one another,” Melissa told me. “We were the only ones who knew what had
happened.”

Meg and Melissa corresponded for several years, then met in person around         in Northern
California, where Melissa had moved. “It was fantastic,” Melissa told me. “We talked and talked
at dinner and then some more at my place. She met my cats. We’d realized, independently, that if
this guy had harmed our cats in any way, we would have tried to rip him to shreds, and we
probably would have died.”

When Casolaro called her at work, Melissa learned Reyes had confessed to raping the Central
Park Jogger. “I was abbergasted. And I hate to say it, but I felt vindicated, that there were other
women before me.” Meg was similarly oored at the news, which she learned from a friend. “It
was a big shock, because, like everyone else, I thought it was these boys. They were convicted. I
thought that was that.”

When they learned Reyes would be interviewed from prison by Cynthia McFadden on ABC’s
Primetime, Melissa and Meg decided to watch it together. They were separated by thousands of
miles, so they did so by telephone. They cursed when he appeared on their television screens. “We
were laughing and making fun of him,” said Melissa. “Meg was using a lot of curse words. I think
I was too. I remember him being older and more mature, saying he was sorry, and we thought it
was bullshit.”

They were both oored when they saw Lourdes’s son on the broadcast, no longer “Little Tony” but
Antonio, no longer a child but a psychology major at LIU Post. He’d spent a few years in Puerto
Rico with family, including Amanda, then came back to live with his biological mother in the
Bronx. He was a restless kid, prone to mouthing o at authority gures, but found his footing
around the age of , when he moved in with the family of his rst girlfriend. Antonio poured his
energy into school and into sports, graduating from Wings Academy High School in        as
class salutatorian. (He’s now dean of discipline at a charter school in the Bronx.)




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                                                                                Central Park Five CasePage 27 of 46




                                                                                                                      Antonio Serrano
                                                                                                                      today. Photo:
                                                                                                                      Courtesy of Antonio
                                                                                                                      Serrano




He always wore No.                      while playing football to remember the year she died. He hoped she would
be proud of him, that he’d taken what she’d tried to teach him about being a good man to heart.
He used to carry Lourdes’s Social Security card in his wallet, the last tangible link to his mother,
until he nally lost it. “I was frustrated and disappointed,” Antonio tells me now, “but I also knew
it seemed like a sign I needed to let it go.”

Jackie Herbach hadn’t put it all together until that fall, when she bought a copy of New York from
a newsstand. Flipping through the pages of the October issue in the elevator, she stopped when
she saw the photo accompanying Chris Smith’s article “Central Park Revisited.” There was a
reprint of the Daily News shot of Matias Reyes’s arrest                                         years before. “Oh my God, oh my God,
that’s him, I thought. That’s the man who attacked me.”

Her self-con dence, already low in her s, had worsened after the attack. She kept Mace on her
at all times. She was particularly angry at the Church of Heavenly Rest after receiving a letter,
three months after her assault, in which it absolved itself of any liability. The letter stated, “When
the largest most sophisticated police force in the world, [the] NYPD, has all but lost the war
against crime, why would you expect more of a church?”

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Therapy helped a lot, as did getting married. She did some work for Salomon Brothers in          ,
and one of her clients that year, in an astonishing coincidence, was Trisha Meili. “It was so
bizarre. It was such a weird twist,” Herbach told me. So, too, was seeing her attacker’s photograph
in New York and realizing that man was responsible not just for her assault but for attacks on
many more women.

                                                             Herbach contacted Smith with her story. He put her in touch
                                                             with the District Attorney’s O ce, and she was questioned for
                                                             hours. Herbach had to know: Was Matias Reyes also her
                                                             attacker? Prosecutors con rmed it was, but because the
                                                             statute of limitations on assault cases expired after ve years,
                                                             they could not prosecute.

                                                             “It used to make me feel stupid on some level, that a -year-
                                                             old could do this to a woman of    … I asked the cops, ‘What
                                                             could I have done di erently?’ They said, ‘You did everything
                                                             right.’” She did not believe them at the time. Now she does, but
                                                             she still wonders what would have happened if she had
                                                             trusted her instincts when she rst saw Reyes’s picture in
                                                             newspapers and on television in August           .

                                       “I’m alive and mostly okay, but there will always be a part of
day. Photo: Courtesy of Jackie Herbach
                                       me that knows there is a very dark side in some people and in
                                       this world,” Herbach told me. “All I know is that I am glad
 [Reyes] is behind bars and can harm no one. He should never be let out.” He is up for parole in
 three years, although it is highly unlikely to be granted.



Now
Amanda Serrano, at                       , has outlived her mother by six years. She has a daughter of her own, age
 . Like Lourdes, she’s slim and petite, barely cresting ve feet. Her personality, shy but curious, is
also like her mother, her family says. Amanda was a nervous child, prone to biting her nails. It’s a
habit she still can’t kick and one more way in which she took after Lourdes.

Amanda didn’t fully understand until her early teens what had happened to her mother. Most of
what she knows about her mother comes from Antonio, with whom she’s still close, and Google.
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                                                                 Victims in the      07/01/20
                                                                                Central Park Five CasePage 29 of 46

She’d never seen a picture of herself as a baby until a few months ago, when an aunt texted her a
grainy image of Lourdes holding her shortly after her birth.

                                                             It was the PBS documentary about the Central Park Five,
                                                             directed by Sarah Burns, that nally made her understand
                                                             the injustice with awful clarity. When she got to the part
                                                             about her mom, the gallery of newspaper clips and a picture
                                                             of her (Gonzalez is not identi ed by name in the
                                                             documentary, though she is discussed in Burns’s book), it
                                                             bothered Amanda for the same reason that she’s not happy
                                                             about the upcoming Net ix series.

                                                             “His face is everywhere … I just feel like they used bits and
                                                             pieces of [my mother’s] story to make another story so huge.
                                                             The only person who lost her life was [my mom]. Everything
                                                             that happened to everyone else is horrible, but they are still
                                                             living. Our family was torn apart. Not just because someone
                                                             was murdered and no longer there. Literally torn apart. We
                                                             all were scattered everywhere. It’s never been together again.”
oday. Photo: Courtesy of Amanda Serrano
                                                             Antonio and Amanda Serrano, at least, lead adult lives that
are stable and largely happy. The same cannot be said for Carlos Vega, Lourdes Gonzalez’s
biological son, the other witness to her murder. He lived with his aunts, Lourdes’s sisters, but he
dropped out of high school as a sophomore. At , he watched his cousin get stabbed and held
him in his arms as he bled to death. Twice he got tattoos under his right eye, teardrops as a
memorial to his mother and to his cousin. An arrest record accumulated.

In             , at      , he was charged with the murder of Robert Gaston, a decade older, in an East
Bronx bodega, shot six times as he shopped for juice. Tried three times, with one deadlocked jury
and two mistrials, he had, by July     , spent nearly nine years on Rikers Island. That dubious
honor, as the New York Times reported at the time, made him the longest-incarcerated person
with an unresolved case in New York City.

He continued to profess his innocence but took a plea deal for manslaughter the day after the
article was published. Vega was sentenced to and a half years in prison, less time served. He
was paroled in June       . “I think he was a ected the most, to be honest,” re ected Amanda. She


https://www.thecut.com/2019/06/the-attackers-other-victims-in-the-central-park-five-case.html                                21/26
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                                                                 Victims in the      07/01/20
                                                                                Central Park Five CasePage 30 of 46

hadn’t spoken to Carlos for over a year. “Him, right there, a rock. I think he’s holding on to a lot of
anger, but he won’t say it.”



For so long, Trisha Meili has been at the center of the narrative, but the center is large enough to
include others. The women Reyes harmed and who survived are in their                                   s. The traumas they
endured are still part of them, even if they do not de ne them.

“This will never end,” Meg told me when she explained why she wanted to speak now. Melissa’s
anxiety is even more pronounced: Her daughter didn’t know about the rape until this May, and
her workplace, she says, would become inhospitable if people knew there.

Amanda Eisley nished college on time, passing all of her classes, including a . in Mandarin,
even as she had trouble studying. “I would wander around the library, unable to concentrate.
That was very distressing. I could not string a thought together.” She sought counseling, tried
living in France for a summer, eventually settling in Los Angeles. But she went out less and less.

She wouldn’t connect with Meg and Melissa until             , years after Reyes’s reemergence. She’s
working on a memoir and revising several scripts, consulting journals from the time of her
assault and its aftermath. She married in          . She has two dogs and a cat. “I can nally go after
things. I’ve processed a lot. I’ve got my full energy. I’m ready to do things.”

When the news cycle starts up again and leaves them out, Meg, Melissa, and Amanda draw
comfort from their friendship. They had dinner at a midtown Manhattan restaurant not long
after the Central Park Five documentary aired on PBS. They FaceTimed recently, on the eve of
the new Net ix series. Each reported to me, separately, how good it felt to talk to the others. How
much their shared bond mattered.



Any narrative, no matter how elegant the construction, will have loose ends. In the story of the
Central Park Jogger, the blame, recrimination, toxic media coverage, vacated convictions, and
civil-lawsuit settlements all happened because we didn’t get the narrative right. There were
understandable reasons: understa ed police, strained city services, a skyrocketing murder rate,
public-health crises, and a media environment prone to stoking fears, not assuaging them.

And there were unforgivable ones, like reassigning the detective and prematurely closing the
investigation into the April ,      , rape, one that could have led to Matias Reyes’s capture early
https://www.thecut.com/2019/06/the-attackers-other-victims-in-the-central-park-five-case.html                            22/26
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5/13/2020               Case 1:20-cv-08042-PKCTheDocument
                                                  Attacker’s Other46-20       Filed
                                                                  Victims in the      07/01/20
                                                                                 Central Park Five CasePage 31 of 46

enough to stop subsequent crimes — including the murder of Lourdes Gonzalez.

Looking through a cracked mirror rendered the other victims — the other women assaulted,
raped, and murdered between the fall of        and the summer of        — invisible. Any real,
proper reckoning with the injustices done to the Central Park Five can’t happen until we change
the narrative and put the women, living and dead, rst.


Editor’s note: An earlier version of this story was incorrectly illustrated with a photo of a
di erent Lourdes Gonzalez. It has been removed.

TA G S :    C E N T R A L PA R K F I V E   M AT I A S R E Y E S   CRIME   F E AT U R E   MORE




                                                                           21 COM M E N T S




                                                                   T H E L AT E S T

P O WER          2 : 1 7 P. M .

Breonna Taylor Was Shot and Killed by Police in Her Own Home As Taylor and her
boyfriend lay sleeping, police barged into her apartment, in what her family is calling a
“botched raid.” Here’s what we know.
B y B ridge t Re ad



1 : 1 9 P. M .

This Is the Best Brow Pencil Dupe


1 2 : 3 3 P. M .

This Mysterious Childhood Illness May Be Linked to Coronavirus


1 2 : 2 7 P. M .

Ways to Improve This Chipotle Beauty Collection


1 2 : 1 0 P. M .

Put ‘Tampongate’ in The Crown, You Cowards


https://www.thecut.com/2019/06/the-attackers-other-victims-in-the-central-park-five-case.html                            23/26
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5/13/2020              Case 1:20-cv-08042-PKCTheDocument
                                                 Attacker’s Other46-20       Filed
                                                                 Victims in the      07/01/20
                                                                                Central Park Five CasePage 32 of 46

UNI VERS AL LANGUAGE                    1 2 : 0 0 P. M .

The Couple Considering an Open Relationship After Quarantine “Everything is intense
in a good way, even if I’m uncomfortable.”
B y Nicole Zak he im



11: 54 A.M.

‘I’m Listening to the Birds’


11: 35 A.M.

Oh No, What Is Ashley Benson Doing with G-Eazy?


11: 2 6 A.M.

Robert Pattinson Is Just Chaotic Jake Gyllenhaal: A Theory


10: 30 A.M.

Everything to Know About the Coronavirus in the United States




UNI VERS AL LANGUAGE                    9 : 00 A.M.

The Dom Oﬀering Pro Bono Services for Essential Workers “I’m here to do stress relief.
It’s like, ‘Daddy’s here to take care of you.’”
B y Mack e nzie Fargo




A S K P O L LY        6 : 00 A.M.

‘Why Do My Friendships Always Fade Away?’ You have to learn to ask your friends for what
you want from them.
B y He athe r Havrile sk y




C RI M E       Y E S T E R D A Y AT 8 : 5 7 P. M .

What We Know About the Killing of Ahmaud Arbery Arbery was out for a jog when
Gregory and Travis McMichael chased him down in a truck, armed with guns. They’ve now
been charged with murder.
B y B ridge t Re ad and Claire Lampe n



https://www.thecut.com/2019/06/the-attackers-other-victims-in-the-central-park-five-case.html                           24/26
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5/13/2020              Case 1:20-cv-08042-PKCTheDocument
                                                 Attacker’s Other46-20       Filed
                                                                 Victims in the      07/01/20
                                                                                Central Park Five CasePage 33 of 46

Y E S T E R D A Y AT 8 : 2 8 P. M .

Aimee Stephens, a Groundbreaking Transgender Activist, Has Died


Y E S T E R D A Y AT 5 : 5 3 P. M .

Have You Considered Simply Being an Ant?


Y E S T E R D A Y AT 5 : 3 3 P. M .

How to Whiten Your Teeth at Home


READI NG T HE S I GNS                Y E S T E R D A Y AT 5 : 1 9 P. M .

Losing Face Trump’s refusal to cover up actually reveals his greatest fears.
B y Rhonda Gare lick




AS T RO LO GY           Y E S T E R D A Y AT 3 : 5 9 P. M .

This Is the Most F’ed Up Astrological Week of the Year Or, at least, it might feel that way.
B y Claire Comstock-Gay



Y E S T E R D A Y AT 3 : 4 0 P. M .

When Will Schools Reopen?


ENC O UNT ER            Y E S T E R D A Y AT 3 : 3 1 P. M .

The Long Wait for Justice at NBC News For one early whistle-blower, Andy Lack’s exit feels
like just the beginning of a Me Too reckoning.
B y B ridge t Re ad



                                                               M ORE ST ORIES


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                                                                                                             P-APP002981
5/13/2020              Case 1:20-cv-08042-PKCTheDocument
                                                 Attacker’s Other46-20       Filed
                                                                 Victims in the      07/01/20
                                                                                Central Park Five CasePage 34 of 46




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                                                                                                                    P-APP002982
Case 1:20-cv-08042-PKC Document 46-20 Filed 07/01/20 Page 35 of 46




                                                                     P-APP002983
Case 1:20-cv-08042-PKC Document 46-20 Filed 07/01/20 Page 36 of 46




                                                                     P-APP002984
Case 1:20-cv-08042-PKC Document 46-20 Filed 07/01/20 Page 37 of 46




                                                                     P-APP002985
Case 1:20-cv-08042-PKC Document 46-20 Filed 07/01/20 Page 38 of 46




                                                                     P-APP002986
Case 1:20-cv-08042-PKC Document 46-20 Filed 07/01/20 Page 39 of 46




                                                                     P-APP002987
5/13/2020                                             Case 1:20-cv-08042-PKC 11
                                                                             Document
                                                                                Warning Signs46-20       Filed
                                                                                              of Gaslighting      07/01/20
                                                                                                             | Psychology Today Page 40 of 46



                                                                                                                                                                     US



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                                 Stephanie A. Sarkis Ph.D.
                                 Here, There, and Everywhere

                      GASLIGHTING

                      11 Warning Signs of Gaslighting
                      Gaslighting is a manipulation tactic used to gain power. And it works too well.
                      Posted Jan 22, 2017


                                                      277




                                                                                                        Gaslighting is a tactic in which a person or entity, in
                                                                                                        order to gain more power, makes a victim question
                                                                                                        their reality. It works much better than you may
                                                                                                        think. Anyone is susceptible to gaslighting, and it is
                                                                                                        a common technique of abusers, dictators,
                                                                                                        narcissists, and cult leaders. It is done slowly, so the
                                                                                                        victim doesn't realize how much they've been
                                                                                                        brainwashed. For example, in the movie Gaslight
                                                                                                        (1944), a man manipulates his wife to the point
                                                                                                        where she thinks she is losing her mind.




                         Source: 123rf Stock Photo/Standard License




                      In my book Gaslighting: Recognize Manipulative and Emotionally Abusive People - and Break Free I detail how
                      gaslighters typically use the following techniques:

                      1. They tell blatant lies.




https://www.psychologytoday.com/us/blog/here-there-and-everywhere/201701/11-warning-signs-gaslighting                                                                                 1/6
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5/13/2020                                             Case 1:20-cv-08042-PKC 11
                                                                             Document
                                                                                Warning Signs46-20       Filed
                                                                                              of Gaslighting      07/01/20
                                                                                                             | Psychology Today Page 41 of 46
                      You know it's an outright lie. Yet they are telling you this lie with a straight face. Why are they so blatant? Because
                      they're setting up a precedent. Once they tell you a huge lie, you're not sure if anything they say is true. Keeping US
                      you unsteady and oﬀ-kilter is the goal.

                      2. They deny they ever said something, even though you have proof.

                      You know they said they would do something; you know you heard it. But they out and out deny it. It makes you
                      start questioning your reality—maybe they never said that thing. And the more they do this, the more you
                      question your reality and start accepting theirs.

                      3. They use what is near and dear to you as ammunition.

                      They know how important your kids are to you, and they know how important your identity is to you. So those
                      may be one of the ﬁrst things they attack. If you have kids, they tell you that you should not have had those
                      children. They will tell you'd be a worthy person if only you didn't have a long list of negative traits. They attack
                      the foundation of your being.

                      4. They wear you down over time.

                      This is one of the insidious things about gaslighting—it is done gradually, over time. A lie here, a lie there, a snide
                      comment every so often...and then it starts ramping up. Even the brightest, most self-aware people can be
                      sucked into gaslighting—it is that eﬀective. It's the "frog in the frying pan" analogy: The heat is turned up slowly,
                      so the frog never realizes what's happening to it.




                      5. Their actions do not match their words.

                      When dealing with a person or entity that gaslights, look at what they are doing rather than what they are saying.
                      What they are saying means nothing; it is just talk. What they are doing is the issue.

                      6. They throw in positive reinforcement to confuse you.

                      This person or entity that is cutting you down, telling you that you don't have value, is now praising you for
                      something you did. This adds an additional sense of uneasiness. You think, "Well maybe they aren't so bad." Yes,
                      they are. This is a calculated attempt to keep you oﬀ-kilter—and again, to question your reality. Also look at what
                      you were praised for; it is probably something that served the gaslighter.


                              THE BASICS


                         Find a therapist who understands manipulative behavior


                      7. They know confusion weakens people.

                      Gaslighters know that people like having a sense of stability and normalcy. Their goal is to uproot this and make
                      you constantly question everything. And humans' natural tendency is to look to the person or entity that will help
                      you feel more stable—and that happens to be the gaslighter.


https://www.psychologytoday.com/us/blog/here-there-and-everywhere/201701/11-warning-signs-gaslighting                                                         2/6
                                                                                                                                                P-APP002989
5/13/2020                                             Case 1:20-cv-08042-PKC 11
                                                                             Document
                                                                                Warning Signs46-20       Filed
                                                                                              of Gaslighting      07/01/20
                                                                                                             | Psychology Today Page 42 of 46
                      8. They project.
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                      They are a drug user or a cheater, yet they are constantly accusing you of that. This is done so often that you
                      start trying to defend yourself, and are distracted from the gaslighter's own behavior.

                      9. They try to align people against you.

                      Gaslighters are masters at manipulating and ﬁnding the people they know will stand by them no matter what—
                      and they use these people against you. They will make comments such as, "This person knows that you're not
                      right," or "This person knows you're useless too." Keep in mind it does not mean that these people actually said
                      these things. A gaslighter is a constant liar. When the gaslighter uses this tactic it makes you feel like you don't
                      know who to trust or turn to—and that leads you right back to the gaslighter. And that's exactly what they want:
                      Isolation gives them more control.




                                                                                                        10. They tell you or others that you are crazy.

                                                                                                        This is one of the most eﬀective tools of the
                                                                                                        gaslighter, because it's dismissive. The gaslighter
                                                                                                        knows if they question your sanity, people will not
                                                                                                        believe you when you tell them the gaslighter is
                                                                                                        abusive or out-of-control. It's a master technique.

                                                                                                        11. They tell you everyone else is a liar.

                                                                                                        By telling you that everyone else (your family, the
                         Source: StockLite/Shutterstock                                                 media) is a liar, it again makes you question your
                                                                                                        reality. You've never known someone with the
                      audacity to do this, so they must be telling the truth, right? No. It's a manipulation technique. It makes people
                      turn to the gaslighter for the "correct" information—which isn't correct information at all.

                      The more you are aware of these techniques, the quicker you can identify them and avoid falling into the
                      gaslighter's trap.

                              Follow-up article: Are Gaslighters Aware of What They Do?

                              Book: Gaslighting: Recognize Manipulative and Emotionally Abusive People - and Break Free

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                      Be sure to read the following responses to this post by our bloggers:


                          Everyday Gaslighting is a reply by Jeremy E. Sherman Ph.D., MPP



                          Are Gaslighters Aware of What They Do? is a reply by Stephanie A. Sarkis Ph.D.



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                                                                                                                                                        P-APP002990
5/13/2020                                             Case 1:20-cv-08042-PKC 11
                                                                             Document
                                                                                Warning Signs46-20       Filed
                                                                                              of Gaslighting      07/01/20
                                                                                                             | Psychology Today Page 43 of 46



                          Fluid Hard-Lining: A Gaslighter’s Favorite Trick is a reply by Jeremy E. Sherman Ph.D., MPP                                          US




                          Another Kind of Game Changer is a reply by Jeremy E. Sherman Ph.D., MPP




                          When Is It Gaslighting and When Is It Not? is a reply by Seth J. Gillihan Ph.D.




                                                                                                                     277




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                      About the Author

                                                  Stephanie Moulton Sarkis, Ph.D., N.C.C., D.C.M.H.S., L.M.H.C., is the author of Gaslighting: Recognize
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                                                                                                                                                        P-APP002991
5/13/2020                                             Case 1:20-cv-08042-PKC 11
                                                                             Document
                                                                                Warning Signs46-20       Filed
                                                                                              of Gaslighting      07/01/20
                                                                                                             | Psychology Today Page 44 of 46



                                                                                                                                                                             US




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                                                                                                                                                                      P-APP002992
5/13/2020                                             Case 1:20-cv-08042-PKC 11
                                                                             Document
                                                                                Warning Signs46-20       Filed
                                                                                              of Gaslighting      07/01/20
                                                                                                             | Psychology Today Page 45 of 46



                                                                                                                                                       US
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                                                                                                                                                P-APP002993
Case 1:20-cv-08042-PKC Document 46-20 Filed 07/01/20 Page 46 of 46




                                                                     P-APP002994
